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               EXHIBIT 1
Case: 1:21-cv-01248-PAB Doc #: 1-2 Filed: 06/25/21 2 of 2. PageID #: 24
                                CASHIER'S CHECK       No.    0438509511
                                                        DATE:   December 14, 2020

PAY     FOUR THOUSAND DOLLARS AND 00 CENTS

                                                            $ 4,000.00
TOTHE
ORDER OF:         RUSHMORE LOAN MANAGEMENT SERVICES
MEMO: ACT -

location: 438 Benncns aimer
                                                                All™ORIZE0 SIGNATURE. -
